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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         )
                                                  )
                 v.                               )
                                                  )
 RICHARD W. GATES III,                            )              Crim. No. 17-201-2 (ABJ)
                                                  )
                 Defendant.                       )


  DEFENDANT RICHARD W. GATES III’S RESPONSE TO THE COURT’S JUNE 21,
                        2018, MINUTE ORDER

        Defendant, by and through counsel, responds to this Court’s June 21, 2018, Minute

Order. The government, after its initial review of defendant’s motion which included Exhibit 1

requesting temporary suspension of GPS monitoring, informed defendant’s counsel that it did

not oppose the requested relief subject to any restrictions or conditions set by the Court

or Pretrial Services. After our receipt of the Court’s Minute Order, we asked the government to

confirm their lack of objection. Having further considered the instant motion, the government

has clarified that it has no objection to the requested travel, subject to any restrictions or

conditions set by the Court or Pretrial Services, but does oppose Mr. Gates being temporarily

relieved of GPS monitoring.

                                                        Respectfully submitted,


                                                        /s/Thomas C. Green
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